Case 2:16-cv-02859-CAS-PLA Document 538 Filed 06/08/18 Page 1 of 3 Page ID #:23467



    1
    2
    3
    4
    5
    6
                              UNITED STATES DISTRICT COURT
    7                        CENTRAL DISTRICT OF CALIFORNIA
    8                              WESTERN DIVISION
    9    MACOM TECHNOLOGY                              Case No. CV16-02859 CAS (PLAx)
   10    SOLUTIONS HOLDINGS, INC., et al.
                                                       JOINT REPORT REGARDING
   11                        Plaintiffs,               CASE SCHEDULE PURSUANT TO
   12          v.                                      DKT. 510

   13    INFINEON TECHNOLOGIES AG, et
         al.,
   14
   15                        Defendants.

   16
   17         Pursuant to the Court’s Civil Minutes dated the May 29, 2018 (Dkt. 510), the

   18   parties have conferred regarding the case schedule. While the parties have reached

   19   agreement on the proposed dates, the parties jointly request the Court’s assistance

   20   in addressing one issue relating to the trial date, before then entering the attached

   21   Proposed Scheduling Order.

   22         The Court’s Civil Minutes adjusted the trial date in this case back by four

   23   weeks, with trial now beginning March 26, 2019. The parties appreciate the

   24   Court’s willingness to adjust the trial date. The new date does not work for either

   25   side, however. Defendants’ lead trial counsel, David Wille has another trial the

   26   week before, which may bleed over into the week of March 26th and which will

   27   inhibit his ability to prepare for trial in this case. One of MACOM’s lead trial

   28   counsel, Amanda Tessar, has a prescheduled (and prepaid) vacation that involves


                                                 -1-
Case 2:16-cv-02859-CAS-PLA Document 538 Filed 06/08/18 Page 2 of 3 Page ID #:23468



    1   the schedules of more than ten other people that would be difficult or impossible to
    2   adjust. The parties therefore request that the Court again adjust the trial date1 and
    3   thus have left a blank in the Proposed Scheduling Order for the Court to fill in dates
    4   for trial and the pretrial conference.
    5            If the trial date is moved, the parties will meet and confer again to propose a
    6   revised schedule. Otherwise, the parties have agreed to all other deadlines for the
    7   case schedule, as set forth in the attached Proposed Scheduling Order.
    8
    9       Dated: June 8, 2018
                                                   By:/s/ Amanda Tessar
   10                                                 Lara J. Dueppen, Bar No. 259075
   11                                                 LDueppen@perkinscoie.com
                                                      PERKINS COIE LLP
   12                                                 1888 Century Park East, Suite 1700
                                                      Los Angeles, CA 90067-1721
   13                                                 Telephone: 310.788.9900
   14                                                 Facsimile: 310.788.3399

   15                                                     Amanda Tessar (pro hac vice)
                                                          ATessar@perkinscoie.com
   16                                                     Elizabeth Banzhoff (pro hac vice)
                                                          EBanzhoff@perkinscoie.com
   17                                                     PERKINS COIE LLP
   18                                                     1900 Sixteenth Street, Suite 1400
                                                          Denver, CO 80202-5255
   19                                                     Telephone: 303.291.2357
                                                          Facsimile: 303.291.2457
   20
                                                          Ramsey M. Al-Salam, Bar No. 109506
   21                                                     RAlSalam@perkinscoie.com
                                                          PERKINS COIE LLP
   22                                                     1201 Third Avenue, Suite 4900
                                                          Seattle, WA 98101-3099
   23                                                     Telephone: 206.359.6835
                                                          Facsimile: 206.359.7385
   24
   25   1
              Morgan Chu, who will also be representing MACOM at trial, has another
   26         pretrial conference and trial beginning on May 24, 2019, with a trial to follow
   27         that will last until the late June, so MACOM requests a trial date in late April or
              early May. David Wille also has a conflict from June 12-28 and from July 10-
   28         21, 2019.

                                                    -2-
Case 2:16-cv-02859-CAS-PLA Document 538 Filed 06/08/18 Page 3 of 3 Page ID #:23469



    1                                             Daniel T. Keese, Bar No. 280683
    2                                             DKeese@perkinscoie.com
                                                  PERKINS COIE LLP
    3                                             1120 N.W. Couch Street, 10th Floor
                                                  Portland, OR 97209-4128
    4                                             Telephone: 503.727.2000
    5                                             Facsimile: 503.727.2222

    6                                             Morgan Chu (State Bar No. 70446)
                                                  (mchu@irell.com)
    7                                             Ellisen Turner (State Bar No. 224842)
                                                  (eturner@irell.com)
    8                                             IRELL & MANELLA LLP
    9                                             1800 Avenue of the Stars, Suite 900
                                                  Los Angeles, CA 90067-4276
   10                                             Telephone: 310-277-1010
                                                  Facsimile: 310-203-7199
   11
                                                  ATTORNEYS FOR PLAINTIFFS
   12
   13                                       By: /s/ David G. Wille
   14                                          David G. Wille (pro hac vice)
                                               david.wille@bakerbotts.com
   15                                          Jeffery D. Baxter (pro hac vice)
   16                                          jeff.baxter@bakerbotts.com
                                               Brian D. Johnston (pro hac vice)
   17                                          brian.johnston@bakerbotts.com
   18                                          James C. Williams (pro hac vice)
                                               james.williams@bakerbotts.com
   19                                          Charles Yeh (pro hac vice)
   20                                          charles.yeh@bakerbotts.com
                                               Josue Caballero (pro hac vice)
   21                                          josue.caballero@bakerbotts.com
   22                                             BAKER BOTTS L.L.P.
   23                                             2001 Ross Avenue, Suite 900
                                                  Dallas, TX 75201
   24                                             Telephone: 214.953.6500
   25                                             Fax: 214.953.6503
   26                                             ATTORNEYS FOR DEFENDANTS
   27
   28

                                            -3-
